        Case 2:21-mc-01230-JFC Document 3011 Filed 10/09/24 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                  Master Docket: Misc. No. 21-mc-1230-JFC
 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS
                                                  MDL No. 3014
 LITIGATION

 This Document Relates to:
 All Actions Asserting Claims for Medical
 Monitoring



        UNOPPOSED MOTION OF SETTLEMENT CLASS REPRESENTATIVES
          FOR FINAL APPROVAL OF CLASS SETTLEMENT AGREEMENT
              AND RELEASE OF MEDICAL MONITORING CLAIMS,
           FINAL JUDGMENT, INJUNCTION AND ORDER OF DISMISSAL

        Settlement Class Representatives hereby respectfully move the Court for an Order to,

among other things: (1) find that the Settlement (set forth in ECF 2862-1 and pp. 34-67 of ECF

2858-1) is in full compliance with all requirements of the Federal Rules of Civil Procedure, the

Class Action Fairness Act, the United States Constitution (including the Due Process Clause), and

any other applicable law; (2) find that the Settlement was negotiated at arm’s-length before the

Court-appointed Settlement Mediator, Hon. Diane M. Welsh (Ret.); there was sufficient formal

and informal discovery; the Parties and counsel were knowledgeable about the facts relevant to

the Medical Monitoring Claims and the substantial risks, burdens, expense and delay of continued

litigation of the Medical Monitoring Claims; and the Parties were represented by highly capable

counsel with substantial experience in class action and products liability litigation; (3) find that the

Girsh factors weigh in favor of approving the Settlement; (4) find that none of the objections to

the Settlement is meritorious; (5) find that dissemination of Notice as set forth in the Declaration

of Orran L. Brown, Sr. of BrownGreer (ECF 3003-1) was in compliance with the Court’s June 27,

2024 Preliminary Approval Order, and that notice satisfies Federal Rules of Civil Procedure 23(c)
        Case 2:21-mc-01230-JFC Document 3011 Filed 10/09/24 Page 2 of 4




and 23(e) and due process; (6) find that a full opportunity has been offered to Settlement Class

Members to object to the Settlement and to participate in the Final Fairness Hearing; (7) grant final

class certification, pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2), for settlement

purposes only, of the Settlement Class that the Court conditionally certified in its June 27, 2024

Preliminary Approval Order; (8) confirm the appointment of Elizabeth Lemus and Marilynn

Sweeney as Settlement Class Representatives and the procedure for replacing a Settlement Class

Representative; (9) confirm the appointment of Settlement Class Counsel listed in paragraph 18 of

the Court’s June 27, 2024 Preliminary Approval Order and the procedure that may be used to

replace Settlement Class Counsel; (10) grant final approval of the Plan for Provision of Medical

Advancement Program (“MAP”) Benefits set forth in Exhibit 3 of the Settlement Agreement (ECF

2858-1) as being fair, reasonable, adequate, and in the best interest of the Settlement Class; (11)

grant the Settlement Class Representatives’ Motion for Final Approval of Class Settlement

Agreement and Release of Medical Monitoring Claims; (12) dismiss the Medical Monitoring

Complaint (ECF 815) and any other Medical Monitoring Claims as to all Released Parties, on the

merits, with prejudice and, except as explicitly provided for in the Settlement Agreement, without

costs; (13) enjoin Settlement Class Members and the other Releasing Parties from filing,

commencing, maintaining, continuing, pursuing and/or prosecuting the Released Claims in any

action, arbitration or other proceeding, whether pending or filed in the future, against Defendants

and the other Released Parties; (14) pursuant to the Settlement Agreement, enjoin the Philips

Defendants and any successors to the Philips Defendants’ rights or interests under the Settlement

Agreement from challenging or opposing, on the basis of this Settlement and the Releases provided

therein, a Settlement Class Member’s Personal Injury Claims or ability to recover for those claims,

or individual claims for payment of that individual’s medical monitoring expenses related to the



                                                 2
          Case 2:21-mc-01230-JFC Document 3011 Filed 10/09/24 Page 3 of 4




individual’s use of a Recalled Device, whether incurred in the past or the future, and regardless of

how those claims may be characterized (e.g., equitable, legal, etc.), or their ability to recover for

those individual claims; and (15) retain continuing and exclusive jurisdiction over the Settlement

Fund and the MAP set forth in the Settlement Agreement.

          The Philips Defendants do not oppose this motion.

          In further support of this Motion, Settlement Class Representatives are filing herewith their

Brief in Support of Settlement Class Representatives’ Motion for Final Approval of Class

Settlement Agreement and Release of Medical Monitoring Claims, which includes their response

to objections to the Class Settlement Agreement and Release of Medical Monitoring Claims.

          Settlement Class representatives attach a proposed Final Approval Order as Exhibit “A”

hereto.

 Dated: October 9, 2024                                 Respectfully submitted,

 /s/ Sandra L. Duggan                                   /s/ Christopher A. Seeger
 Sandra L. Duggan                                       Christopher A. Seeger
 Levin Sedran & Berman LLP                              Seeger Weiss LLP
 PA Bar ID 56420                                        NJ Bar ID 042631990
 510 Walnut Street                                      55 Challenger Road 6th Floor
 Ste 500                                                Ridgefield Park, NJ 07660
 Philadelphia, PA 19106                                 212-584-070
 215-592-1500                                           cseeger@seegerweiss.com
 sduggan@lfsblaw.com

 /s/ Steven A. Schwartz                                 /s/ Kelly K. Iverson
 Steven A. Schwartz                                     Kelly K. Iverson
 Chimicles Schwartz Kriner & Donaldson-                 Lynch Carpenter, LLP
 Smith LLP                                              PA Bar ID 307175
 PA Bar ID 50579                                        1133 Penn Avenue, 5th Floor
 361 West Lancaster Avenue One Haverford                Pittsburgh, PA 15222
 Centre Haverford, PA 1904                              412-322-9243
 610-642-8500                                           kelly@lcllp.com
 steveschwartz@chimicles.com




                                                    3
      Case 2:21-mc-01230-JFC Document 3011 Filed 10/09/24 Page 4 of 4




/s/Roberta D. Liebenberg
Roberta D. Liebenberg, Esquire
Fine, Kaplan and Black, R.P.C.
PA Bar ID 31738
One South Broad Street, 23rd Floor
Philadelphia, PA 19107
(215) 567-6565 (phone)
rliebenberg@finekaplan.com

                                 Settlement Class Counsel

/s/ D. Aaron Rihn                               Peter St. Tienne Wolff, Esquire
D. Aaron Rihn, Esquire                          PietraGallo Gordon Alfano Bosick &
Robert Peirce & Associates, P.C.                Raspanti, LLP
PA Bar ID: 85752                                PA Bar ID: 208433
707 Grant Street, Suite 125                     One Oxford Centre - 38th Floor
Pittsburgh, PA 15219                            Pittsburgh, PA 15219
(412) 281-7229 (phone)                          (412) 263-2000 (phone)
(412) 281-4229 (fax)                            (412) 263-2001 (fax)
arihn@peircelaw.com                             psw@pietragallo.com

                              Plaintiffs’ Co-Liaison Counsel




                                            4
